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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
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     FEDERAL TRADE COMMISSION, et al.,            Case No. 2:23-cv-01495-JHC
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                         Plaintiffs,              AMAZON’S MOTION TO DISMISS
11
                                                  COUNTS XIV, XV, AND XIX OF
           v.
12                                                PLAINTIFFS’ SECOND AMENDED
                                                  COMPLAINT
     AMAZON.COM, INC., a corporation,
13
                                                  NOTE ON MOTION CALENDAR:
14                       Defendant.               DECEMBER 12, 2024
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                                                  ORAL ARGUMENT REQUESTED
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 1                                           INTRODUCTION

 2          This Court dismissed several state-law claims that had nothing to do with the competition

 3   issues presented in the First Amended Complaint. These claims invoked consumer-protection

 4   causes of action and claims of “deception,” “unconscionability,” “fraud,” or “unfair acts or

 5   practices.” Dkt. 289 at 31–39. This Court dismissed those claims because “the Amended

 6   Complaint does not allege ‘fraudulent or deceptive conduct’ … and it does not allege that Amazon

 7   made misrepresentations.” Id. at 37.

 8          Two states—New Jersey and Pennsylvania—have now amended the pleadings to add back

 9   in the same basic claims this Court dismissed. See Second Amended Complaint (“SAC”), Dkt. 327

10   ¶¶ 507-33, 545-95. This continued attempt to import consumer-protection issues into this case

11   fares no better than the prior attempt: both states’ claims suffer from the same pleading deficiencies

12   as before. The claims should therefore be dismissed with prejudice this time. Cf. Hayden v. Knight,

13   2023 WL 4683681, at *5 (W.D. Wash. July 21, 2023) (dismissing plaintiff’s second amended

14   complaint with prejudice for failure to cure deficiencies the district court identified in first

15   amended complaint).

16          New Jersey. New Jersey realleges the same “unconscionability” claim under the State’s

17   Consumer Fraud Act (Count XIV) and alleges an entirely new “knowing concealment” claim
18   under the same Act (Count XV). For both counts, a plaintiff must point to conduct that has the

19   “capacity to mislead.” Cox v. Sears Roebuck & Co., 647 A.2d 454, 462 (N.J. 1994). But New

20   Jersey alleges neither an affirmative act nor an omission that would mislead consumers. Rather,

21   just as before, the SAC’s competition-focused allegations fail to state a claim under a law that

22   “was enacted to help eradicate consumer fraud, not to ‘advance public policy in favor of

23   competition.’” Sickles v. Cabot Corp., 877 A.2d 267, 277 (N.J. Super. Ct. App. Div. 2005) (citation

24   omitted).

25          Pennsylvania. Pennsylvania’s deception and unfairness claims (Count XIX) fail for

26   similar reasons: the SAC alleges no facts to support the types of consumer-protection claims

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 1   encompassed by Pennsylvania’s Unfair Trade Practices and Consumer Protection Law

 2   (“PUTPCPL”). This Court has already twice rejected Pennsylvania’s effort to jam the round peg

 3   of Plaintiffs’ competition-related factual allegations into the square hole of the PUTPCPL. The

 4   SAC pleads no new factual allegations that could support a PUTPCPL claim; instead Pennsylvania

 5   seeks to relitigate this Court’s prior legal rulings and interject groundless consumer protection

 6   claims into this antitrust case. This Court should again dismiss the PUTPCPL claim, this time with

 7   prejudice.

 8                                             ARGUMENT

 9   I.     NEW JERSEY’S CONSUMER FRAUD ACT CLAIMS (COUNTS XIV AND XV)
            FAIL.
10

11          This Court previously dismissed New Jersey’s Consumer Fraud Act (“CFA”) count

12   because the State’s “only legal theory ‘is that defendants’ alleged monopolistic conduct constitutes

13   an unconscionable commercial practice,’” and such a theory is not cognizable under the CFA.

14   Dkt. 289 at 33 (quoting Sickles, 877 A.2d at 277). Rather, as this Court explained, “the ‘capacity

15   to mislead is the prime ingredient of deception or an unconscionable commercial practice.” Id. at

16   33-34 (quoting Sickles, 877 A.2d at 277) (emphasis added). Because New Jersey failed to “point

17   to any specific statement, promise, or advertising guaranteeing that Amazon offered the lowest

18   prices … Amazon’s actions as to Project Nessie are not deceptive.” Id. at 32-33.

19          New Jersey tries again to bring a claim under the CFA, but it does not cure the fundamental

20   problem the Court identified: it alleges no facts to support a consumer protection claim. The

21   SAC features two separate counts under the CFA, both of which focus on “Project Nessie.” Count

22   XIV alleges that “Nessie” was an “unconscionable commercial practice.” See SAC ¶¶ 519-21.

23   Count XV alleges that Amazon knowingly concealed the fact of “Nessie’s” existence. See id.

24   ¶¶ 530-31. Despite this new packaging, the SAC alleges no new facts concerning any “specific,

25   statement, promise, or advertising guaranteeing that Amazon offered the lowest prices.” Dkt. 289

26   at 32-33. Compare First Amended Complaint (“FAC”), Dkt. 171 ¶¶ 418-34, with SAC ¶¶ 418-34.

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 1   Instead, as before, New Jersey is alleging what is, at bottom, an antitrust claim not actionable under

 2   the CFA.

 3           Specifically, Count XIV alleges that Amazon engaged in an “unconscionable” practice

 4   because it used Nessie as a price-coordination mechanism to induce “other online stores into

 5   raising their prices.” Id. ¶ 520; see also id. ¶ 531; ¶ 434 (alleging Nessie “undermine[d]

 6   competition”). But alleged suppression of price competition falls squarely within the ambit of the

 7   antitrust laws, not the consumer-protection provisions of the CFA. See Sickles, 877 A.2d at 277

 8   (“The CFA was enacted to help eradicate consumer fraud, not to ‘advance public policy in favor

 9   of competition and prevent practices which deprive consumers of the benefit of competitive

10   markets….’”) (citation omitted). Just as before, “[b]ecause the only acts and practices included in

11   the complaint are [alleged to be] anti-competitive acts[,] … their complaint cannot state a claim

12   for relief under the Consumer Fraud Act.” Wilson v. Gen. Motors Corp., 2006 WL 1767754, at *9

13   (N.J. Super. Ct. App. Div. June 29, 2006) (per curiam), aff’d, 921 A.2d 414 (N.J. 2007).1

14           Further, as this Court has recognized, a plaintiff cannot state a claim under the CFA unless

15   it alleges conduct that has the “capacity to mislead.” Dkt. 289 at 31 (quoting Cox, 647 A.2d at 462)

16   (emphasis added). This is true for claims regarding “affirmative acts” (Count XIV) and claims

17   regarding “knowing omissions” (Count XV). Arcand v. Brother Int’l Corp., 673 F. Supp. 2d 282,
18   296 (D.N.J. 2009) (“common thread” underlying “all types” of conduct made unlawful by the CFA

19   is the “capacity to mislead.” (emphases added)). To satisfy this standard, “[t]he practice must be

20   misleading and outside the norm of a reasonable business practice.” Hughes v. TD Bank, N.A., 856

21   F. Supp. 2d 673, 680 (D.N.J. 2012). And to survive a motion to dismiss, misleading and

22   unreasonable practices must be alleged with particularity. Coda v. Constellation Energy Power

23   Choice, LLC, 409 F. Supp. 3d 296, 301 (D.N.J. 2019).

24

25   1
       New Jersey also alleges that Amazon violated the CFA with the policies toward third-party sellers that underlie
26   Plaintiffs’ Sherman Act claims. See SAC ¶ 521. As before, these allegations of “monopolistic conduct” do not state a
     claim under the CFA. Dkt. 289 at 33.

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 1            This Court already concluded that the prior allegations regarding Nessie’s price effects did

 2   not allege a practice with the “capacity to mislead.” Dkt. 289 at 32-33. New Jersey has not even

 3   attempted to remedy that deficiency by alleging deceptive statements or omissions, let alone with

 4   particularity. Count XIV thus fails because New Jersey does not—and cannot—allege that

 5   Amazon misled consumers as to the actual prices they would pay. New Jersey courts consistently

 6   reject the notion that a company’s decisions about pricing strategy are unconscionable under the

 7   CFA when, as here, consumers are charged the prices that the company advertises.2 Even when a

 8   defendant fails to inform its customers of “specific prices,” that failure “only becomes relevant [to

 9   the CFA] when juxtaposed against [the defendant’s] advertising.” Leon v. Rite Aid Corp., 774 A.2d

10   674, 680 (N.J. App. Div. 2001); see also Dkt. 289 at 32. And here, the SAC does not even suggest

11   that Amazon misled consumers about the specific prices of the goods they bought. Indeed,

12   New Jersey has abandoned its prior claim of deceptive advertising. Cf. FAC ¶ 515(b).

13            The same result follows for Count XV, which alleges deceptive “concealment.” SAC

14   ¶¶ 422, 530. New Jersey alleges that, for certain goods at certain times, Amazon used an

15   “algorithmic tool” (Nessie) that raised prices and that Amazon did not disclose this proprietary

16   pricing algorithm to the public. SAC ¶¶ 422-24; see also Dkt. 127 at 4 (summarizing allegations

17   regarding Nessie). But to state a claim of “knowing concealment” or “knowing omission” under
18   the CFA, the plaintiff must plausibly allege that the defendant had a duty to disclose the omitted

19   fact. See Judge v. Blackfin Yacht Corp., 815 A.2d 537, 543 (N.J. App. Div. 2003). “Implicit in the

20   showing of an omission is the underlying duty on the part of the defendant to disclose what he

21   concealed to induce the purchase. Obviously, there can be no fraud, or reliance for that matter,

22
     2
       See, e.g., BCR Carpentry LLC v. FCA US, LLC, 2024 WL 4570734, at *7 (D.N.J. Oct. 24, 2024) (upholding auto
23   distributor’s mark-up); Silver v. Pep Boys-Manny, Moe & Jack of Delaware, Inc., 2018 WL 1535285, at *5 (D.N.J.
     Mar. 29, 2018) (“Plaintiff has pointed to no authority, and there is in fact no law, which requires Defendant to charge
24   the same prices for products, sold through different distribution channels, at different times, in the absence of some
     specific representation promising to do so.”); Leslie v. Quest Diagnostics, Inc., 2018 WL 1535235, at *3 (D.N.J.
25   Mar. 29, 2018) (rejecting argument that “differential pricing” violates the CFA); Yingst v. Novartis AG, 63 F. Supp.
     3d 412, 416 (D.N.J. 2014) (“Plaintiff does not cite any case, and the Court is aware of none, in which an
26   ‘unconscionable commercial practice’ was found under the NJCFA based solely upon the disparate pricing of
     substantively identical products manufactured by the same defendant.”).

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 1   if the defendant was under no obligation to disclose the information in the first place.” Arcand,

 2   673 F. Supp. 2d at 297; see also Coba v. Ford Motor Co., 2017 WL 3332264, at *3 (D.N.J. Aug. 4,

 3   2017), aff’d, 932 F.3d 114 (3d Cir. 2019).

 4          Here, Amazon had no duty to disclose its pricing algorithms generally, let alone the

 5   variation in its algorithm that the SAC calls “Project Nessie.” Indeed, firms across the economy

 6   typically keep their pricing strategies confidential. E.g., Nike, Inc. v. McCarthy, 379 F.3d 576, 586

 7   (9th Cir. 2004); In re Soc. Media Adolescent Addiction/Pers. Inj. Prods. Liab. Litig., 2024 WL

 8   251404, at *10 (N.D. Cal. Jan. 23, 2024); see also Dkt. 160 at 5 (designating Amazon’s

 9   “algorithms” and “business strategy documents” as “highly confidential”). Further, under New

10   Jersey law, a party generally “has no duty to disclose information to another party in a business

11   transaction unless a fiduciary relationship exists between them, unless the transaction itself is

12   fiduciary in nature, or unless one party ‘expressly reposes a trust and confidence in the other.’”

13   N.J. Econ. Dev. Auth. v. Pavonia Rest., Inc., 725 A.2d 1133, 1139 (N.J. Super. Ct. App. Div. 1998)

14   (citation omitted). None of these circumstances describe the arms-length relationship between

15   Amazon and its consumers. To the contrary, New Jersey courts have rejected CFA claims seeking

16   to hold companies liable for refusing to disclose how they arrived at the prices they charge,

17   explaining that merchants have no duty to disclose such strategic information to consumers. See,
18   e.g., BCR Carpentry LLC v. FCA US, LLC, 2024 WL 4570734, at *8 (D.N.J. Oct. 24, 2024). In

19   sum, because Amazon had no duty to disclose the “algorithmic tool[s]” it used to decide on prices,

20   its “concealment” of such tools—including, as alleged, Nessie—does not violate the CFA.

21   II.    PENNSYLVANIA’S UNFAIR TRADE PRACTICES AND CONSUMER
            PROTECTION LAW CLAIM (COUNT XIX) FAILS.
22

23          This Court previously dismissed Pennsylvania’s deception and unfairness claims under the

24   PUTPCPL. Dkt. 289 at 34-37. Pennsylvania’s amendments do not address the fundamental

25   deficiencies this Court identified. The Court should therefore again dismiss these claims, this time

26   with prejudice.

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 1          A.      Pennsylvania’s Deception Claim

 2          The PUTPCPL does not reach “non-actionable puffery” in which “‘the impression created

 3   by [a] statement is one of exaggeration or overstatement expressed in broad language.’” Dkt. 289

 4   at 35 (quoting Piccioli v. Faust Heating & A/C Co., 299 A.3d 877 (Pa. Super. Ct. 2023) (citation

 5   omitted)). This Court thus rejected Pennsylvania’s argument that Amazon somehow deceived

 6   consumers by describing itself as “Earth’s most customer-centric company.” Id. at 35. The

 7   statement is “broad and vague” and thus “does not suffice to support a claim for deception.” Id.

 8   (emphasis added). Pennsylvania has now amended its PUTPCPL deception claim to include

 9   statements from Amazon’s “Price Matching Policy.” See SAC ¶¶ 550-63. But these statements are

10   similarly broad or vague or both. Equally important, they are neither false nor misleading, and

11   nothing in the SAC plausibly suggests that they are.

12          As the SAC recounts, the Price Matching Policy statements say that Amazon will “wor[k]

13   toward maintaining competitive prices,” SAC ¶¶ 557–58, and that Amazon will “strive to maintain

14   low and competitive prices,” id. at ¶ 559. The assertion that Amazon’s prices are “competitive” or

15   “low” is too vague to be actionable. Courts have consistently rejected similar claims that a seller’s

16   “broadly worded claims of affordability” are deceptive. Landau v. Viridian Energy PA LLC, 223

17   F. Supp. 3d 401, 416 (E.D. Pa. 2016); see also Daniyan v. Viridian Energy LLC, 2015 WL
18   4031752, at *2 (D. Md. Jun. 30, 2015) (“Viridian’s generalized statements that its energy is

19   competitively priced and often costs less than the utility’s rates amount to nothing more than vague

20   generalities and puffery”); Corsale v. Sperian Energy Corp., 412 F. Supp. 3d 556, 563 (W.D. Pa.

21   2019) (“[A] vague claim of ‘competitive’ rates is puffery and, therefore, not actionable.”).

22          In any event, Pennsylvania does not plausibly allege—let alone with the requisite

23   specificity—that Amazon’s Price Matching Policy is false or misleading, as is required under the

24   PUTPCPL. See Pennsylvania v. Golden Gate Nat’l Senior Care LLC, 194 A.3d 1010, 1023

25   (Pa. 2018); Coyle v. JSL Mech., Inc., 2023 WL 5985273, at *4 (E.D. Pa. Sept. 14, 2023)

26   (explaining Rule 9 pleading standard applies to PUTPCPL). Again, Plaintiffs allege that, in certain

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 1   cases and at certain times, Nessie adjusted Amazon’s algorithmic pricing tool so that Amazon

 2   would “temporarily have higher prices than at least one other online store” in hopes competitors

 3   might sometimes match Amazon’s price. SAC ¶ 423. But that is consistent with the representations

 4   that Amazon’s prices are “competitive” and “low,” in the sense that they are comparable to other

 5   low-priced offers. See SAC ¶¶ 422-23 (alleging that Amazon’s competitors frequently set prices

 6   near those prices influenced by Nessie).

 7          B.      Pennsylvania’s Unfairness Claim

 8          Pennsylvania previously alleged that “Amazon engaged in unfair methods of competition

 9   and unfair acts or practices by impairing consumer choice and competition in violation of 73 Pa.

10   Cons. Stat. § 201-2(4)(xxi)” Dkt. 289 at 34. As this Court explained, however, “monopolistic

11   behavior, joint ventures, or market sharing agreements” can “give rise to viable [PUTPCPL]

12   actions [only] if they fit within one of the categories of behavior deemed, by rule or in the Law

13   itself, ‘unfair methods of competition’ or ‘unfair or deceptive acts or practices.’” Id. at 36-37

14   (citations omitted).

15          The PUTPCPL comprehensively enumerates the categories of prohibited conduct in

16   § 201-2(4). In the previous Complaint, Pennsylvania relied on two of the enumerated categories:

17   (1) “Representing that goods or services have sponsorship, approval, characteristics, ingredients,
18   uses, benefits or quantities that they do not have or that a person has a sponsorship, approval,

19   status, affiliation or connection that he does not have,” 73 Pa. Stat. § 201-2(4)(v); and

20   (2) “Engaging in any other fraudulent or deceptive conduct which creates a likelihood of confusion

21   or of misunderstanding,” id. at (xxi). See FAC ¶ 551. This Court rejected Pennsylvania’s

22   unfairness claim because “the Amended Complaint does not allege ‘fraudulent or deceptive

23   conduct’ to state a claim under Section (xxi) of the PUTPCPL and it does not allege that Amazon

24   made misrepresentations to state a claim under Section (v) of the PUTPCPL.” Dkt. 289 at 37.

25          Pennsylvania again claims that Amazon’s conduct fits within those two categories and only

26   those two categories; the only difference is that Pennsylvania limits those claims to Nessie (as

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 1   opposed to all of the alleged conduct covered in the FAC). Again, however, Amazon’s alleged use

 2   of the Nessie tool was not “fraudulent or deceptive conduct which creates a likelihood of confusion

 3   or misunderstanding,” the essential prerequisite to any claim under Section (xxi) of the PUTPCPL.

 4   See Part I supra. The SAC does not allege that Nessie concealed prices or other important terms

 5   from consumers, and consumers paid the prices they saw. And, despite quoting repeatedly from

 6   various vintages of Amazon’s Price Matching Policy, Pennsylvania has not in fact identified any

 7   misrepresentation that could violate Section (v). See Part II.A supra.

 8          Indeed, Pennsylvania’s amendments to the PUTPCPL unfairness claim include no new

 9   factual allegations. Pennsylvania has instead amended its claim to include legal arguments.

10   Pennsylvania appears to argue that the PUTPCPL incorporates the same standard as the FTC Act

11   and that therefore allegations stating a claim under the FTC Act also state a claim under the

12   PUTPCPL, whether or not they fall within PUTPCPL’s enumerated categories of conduct.

13   SAC ¶¶ 567-68. But this Court already rejected that argument, see Dkt. 308, when it denied

14   Pennsylvania’s motion for reconsideration, see Dkt 306. Under the law of the case, the PUTPCPL

15   does not incorporate the substantive standards of Section 5 of the FTC Act, except where the

16   conduct prohibited by the FTC Act “fit[s] within one of the categories of behavior deemed, by rule

17   or in the Law itself, ‘unfair methods of competition’ or unfair or deceptive acts or practices.’”
18   Dkt. 289 at 36-37 (quoting Anadarko, 206 A.3d at 60); see United States v. Alexander, 106 F.3d

19   874, 876 (9th Cir. 1997).

20          The Court’s prior holding on these points was correct. Ash v. Cont’l Ins. Co., 932 A.2d 877

21   (Pa. 2007), on which Pennsylvania relied, see Dkt. 306 at 4, stands only for the narrow proposition

22   that conduct can violate the PUTPCPL even if it violates another consumer-protection statute. See

23   932 A.2d at 88182 (stating PUTPCPL applies “even where the unlawful practice is directly

24   addressed by another consumer-related statute”). It does not follow that every violation of a statute

25   protecting consumers is also a PUTPCPL violation; again, the scope of the PUTPCPL’s

26   prohibition on “unfair methods of competition” and “unfair or deceptive acts or practices” is

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 1   strictly defined by law and is not nearly as broad as Section 5 of the FTC Act. See 73 Pa. Stat. §

 2   201-2(4); Anadarko Petrol. Corp. v. Pennsylvania, 206 A.3d 51, 60 (Pa. Commw. Ct. 2019) (en

 3   banc) (“[T]he scope of actionable antitrust behavior under the UTPCPL is narrower than under

 4   federal antitrust law.”); In re HIV Antitrust Litig., 2023 WL 3006572, at *4 (N.D. Cal. Apr. 18,

 5   2023) (“[T]he UTPCPL does not parallel the FTC [Act]”); FTC v. Vyera, 479 F. Supp. 3d 31, 50

 6   (S.D.N.Y. 2020).

 7          In any event, Pennsylvania’s effort to equate federal and state law standards would not save

 8   this claim. The gravamen of Pennsylvania’s state law Nessie claim is that Amazon made “false”

 9   and “misleading” statements to consumers about price, SAC ¶ 567, and “otherwise engaged in

10   conduct with the capacity or tendency to deceive,” id. ¶ 568. These are consumer protection claims

11   of a type that the FTC elected not to bring under Section 5’s “unfair or deceptive acts or practices”

12   standard. If the FTC had included such claims, they, too, would be subject to dismissal for the

13   same reason that the PUTPCPL claim should be dismissed: the SAC’s factual allegations sound in

14   antitrust and do not support consumer protection claims.

15                                            CONCLUSION

16          Counts XIV, XV, and XIX should be dismissed with prejudice.

17          DATED this 14th day of November, 2024.
18                                                      I certify that this memorandum contains 3,152
                                                        words, in compliance with the Local Civil Rules.
19

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